           Case 2:12-cr-06005-WFN               ECF No. 92               filed 03/07/12              PageID.287 Page 1 of 1
%PS 8
(12/04)


                              United States District Court
                                                                      for

                                              Eastern District ofWashington



 U.S.A. vs.                      Kim Chavez                                            Docket No.               2:12CR06005-004




                                 Petition for Action on Conditions of Pretrial Release

       COMES NOW Stephen Krous, PRETRIAL SERVICES OFFICER presenting an official report regarding the
defendant Kim Chavez, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting in
the Court at Spokane, Washington, on the 19th day of January 2012 under the following condition:

Defendant shall undergo a substance abuse evaluation, but the conditions did not include: Prohibited Substance Testing,
number (28), as noted on the order setting conditions of release.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


This officer, along with Ms. Chavez, requests the Court modify the order setting conditions of release to include number
(28), allowing substance abuse testing, up to six times per month to confirm continued abstinence.                   ,
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                             PRAYING THAT THE COURT WILL-ORDJER A WARRAjgJT^-                                              —


                                                                                          I declare under penalty of perjury that
                                                                                          the foregoing is true and correct.

                                                                                          Executed on:        03/07/2012
                                                                                 by       s/Stephen Krous

                                                                                          Stephen Krous
                                                                                          U.S. Probation Officer




 THE COURT ORDERS


 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [ \j( Other / 2*M*GZ^ (U^**-
          fczfc~f
                                                                                              Signature of Judicial Officer



                                                                                              Date
